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                                     Rehana Leila Ahmed-Saucedo

Permanent Address:                                               Phone: (612) 387-4627
2732 Irving Avenue South                                         e-mail: Rehana@lakesderm.com
Minneapolis, Minnesota 55408                                     www.lakesderm.com

CURRENT POSITION
Assistant Professor: Dermatology, the University of Minnesota, Mpls, MN         2011-
Dermatologist and President: Lakes Dermatology, PA, Burnsville & Minnetonka, MN 2015-

COMPLETED POSITIONS
Dermatologist: Skin Care Doctors, PA, Burnsville, Edina & Sartell MN                 2013-2015
Dermatologist: Uptown Dermatology, Minneapolis, MN                                   2011-2012

EDUCATION
Residency: The University of Minnesota, Dept of Dermatology                          2008-2011
Medicine Internship: The University of Minnesota, Dept of Medicine                   2007-2008
Doctor of Medicine, MSTP program, The University of Minnesota                        2007
Doctor of Philosophy, Epidemiology, The University of Minnesota, GPA: 3.76           2006
       Dissertation: Epidemiological Associations of Metabolic Factors with
       Cancer Risk and Cancer Late Effects
Bachelor of Arts, Behavioral Biology, The Johns Hopkins University, GPA: 3.73        1998

LICENSURE
USMLE Step I – 233                                                                   06/2001
USMLE Step II CK /CS – 203/pass                                                      02/2007
USMLE Step III – 233                                                                 11/2008
Minnesota Medical License, active                                                    2009 -
Diplomate, American Board of Dermatology                                             07/2011-
BLS, re-certified                                                                    01/2014

AWARDS AND HONORS
2013 AAD Leadership Forum Participant                                                2013

RESIDENCY AND GRADUATE LEVEL FELLOWSHIPS, RESEARCH AWARDS, HONORS
NIH Medical Science Training Grant: T32 GM 08244-15                                  1999-2001
                                                                                     2005-2007
NIH Cancer Epidemiology Training Grant: T32 CA09607-15                               2001-2003
Thomas Shevlin Predoctoral Fellowship (U of MN Graduate School)                     2003-2004
      Competitive fellowship stipend of $19,500 awarded to one graduate student annually
Division of Epidemiology Research Grant Recipient                                    2002
        Competitive research grant of $3500 for a proposal to study the effects
        of an exercise intervention on levels of insulin-like growth factor
        binding protein-2



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Community of Scholars travel award, U of MN                                         2003
     Award of $300 toward travel to a national research meeting

Scholars in Training Award, American Association of Cancer Research                 2003
(AACR) Annual Meeting
        Award of $1000 for meeting abstract submission to travel/present
        at the annual meeting
National PEO Foundation Scholarship recipient                                       2004-2005
       Nominated by UMN graduate school; competitive national award
       of $10,000 for application toward educational expenses

Minnesota Medical Foundation Rosa Steer Breast Cancer Research Award                2006
       Nominated by Douglas Yee, MD; award of $1000 for publication on
       weight training and lymphedema in breast cancer survivors, WTBS
Alpha Omega Alpha, U of MN Medical School                                           2006
Honors in medical school:                                                             1999-2007
       Year 2 Physiology, Medicine I externship, Medicine II externship, Obstetrics
       and Gynecology externship, Psychiatry externship; Surgical Pathology elective,
       Advanced Dermatology elective, Clinical Allergy elective
Accepted for the 2008 ASCDAS Accredited Dermatology Resident/Fellow Educational
       Scholarship Program to attend the annual conference, Las Vegas NV        2008
Selected for Participation in the Society of Investigative Dermatology
        Resident Retreat, annual SID conference, Montreal, Quebec, CA               2009

Women’s Dermatologic Society Mentorship Grant                                       2010
     Project: Rotation in Pediatric Dermatology at NYU June 1-30, 2010
     Mentor: Dr. Julie Schaffer, NYU Dermatology

Univ of MN Dept of Dermatology Research Day, 1st place award                        2010
        Project: Physical Activity and Lymphedema Trial

Nominated for AAD Young Investigators Award                                         2010


UNDERGRADUATE LEVEL AWARDS AND HONORS
Deans List: five semesters                                                          1996-1998
Golden Key National Honor Society                                                   1997
Psi Chi, National Psychology Honor Society                                          1997
Johns Hopkins University Undergraduate Provost Research                             1997
Award of $3500 to work in Denmark, summer 1997
Phi Beta Kappa, Johns Hopkins University                                            1998
Curt P. Richter Award for Research in Behavioral Biology                            1998
Departmental and University Honors at graduation                                    1998



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FACULTY RESEARCH MENTOR FOR THE FOLLOWING STUDENTS:
Kaya Peterson, BS – Kaya worked in our lab on the CK2 and melanoma project, 2017-2018.
Megan Megan Wood, MS3– worked with this student to develop an outreach intervention to provide
sunblock at the U of MN TCF stadium, 2014.
Erin Dodd MS3 – recipient of MMF research award for work with me during the summer of 2013.
Maarya Pasha MS4 – worked with this student on a patient case report, 2013-4.
Phil Lee MS4 – worked with this student on a patient case report, 2013-4.


PROFESSIONAL MEMBERSHIP:
Minnesota Dermatologic Society
American Academy of Dermatology
American Dermato-Epidemiology Network
Society for Investigative Dermatology
American Society of Dermatologic Surgery
American Society of Mohs Surgeons
Women’s Dermatologic Society
         Grant Review Committee 2015-2016
Skin of Color Society
International Transplant Skin Cancer Collaborative


PUBLICATIONS

Journal Articles:
1.     Ahmed RL, Davis AT, Ahmed K: “Interference in Protein Assays of Biological Specimens by
       Vanadyl Compounds,” Analytical Biochemistry, 237, 76-79 (1996)
2.     Kusk M, Ahmed RL, Thomsen B, Bendixen C, Issinger O-G, Boldyreff B: “Interactions of
       Protein Kinase CK2β Subunit Within the Holoenzyme and with Other Proteins.” Molecular and
       Cellular Biochemistry, 191:51-58 (1999)
3.     Schmitz KH, Ahmed RL, Yee D: “Effects of a Nine-Month Strength Training Intervention on
       Insulin, IGF-I, IGFBP-1, and IGFBP-3 in 30-50 Year Old Women” Cancer Epidemiology
       Biomarkers and Prevention, 11: 1597-1604 (2002)
4.     Ahmed R, Bowen J, O'Donnel W: “Cultural Competence and Language Interpreter Services in
       Minnesota: Results of a Needs Assessment Survey Administered to Physician Members of the
       Minnesota Medical Association.” Minnesota Medicine.87:40-43 (2004)
5.     Schmitz KH, Ahmed RL, Hannan PJ, Yee D: “Safety and Efficacy of Weight Training in Recent
       Breast Cancer Survivors to Alter Body Composition, Insulin, and Insulin-Like Growth Factor Axis
       Proteins.” Cancer Epidemiology Biomarkers and Prevention, 14(7): 1672-80 (2005)
6.     Ohira T, Schmitz KH, Ahmed RL, Yee D: “Effects of Weight Training on Quality of Life in
       Recent Breast Cancer Survivors. The Weight Training for Breast Cancer Survivors (WTBS)
       Study.” Cancer 106:2076-2083 (2006). Reuter’s Associated Press article, 4/06.
7.     Ahmed RL, Thomas W, Yee D, Schmitz KH “Randomized Controlled Trial of Weight Training
       and Lymphedema in Breast Cancer Survivors.” Journal of Clinical Oncology. 24(18):2765-2772
       (2006). Reuter’s Associated Press article 03/18/06; featured in a NY Times article, 05/18/2006
8.     Ahmed RL, Schmitz KH, Anderson KE, Rosamond WD, Folsom AR: “The Metabolic Syndrome
       and Risk of Incident Colorectal Cancer.” Cancer, 107(1):28-36 (2006)

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9.    Ahmed RL, Thomas W, Schmitz KH: “Interactions Between Insulin, Body Fat, and Insulin-Like
      Growth Factor Axis Proteins.” Cancer Epidemiol. Biomarkers and Prevention, 16(3):593-7 (2007)
10.   Warshaw EW, Ahmed RL, Belsito DV, DeLeo VA, Fowler JF Jr, Maibach HI, Marks JG Jr,
      Mathias CGT, Pratt MD, Rietschel RL, Sasseville D, Storrs FJ, Taylor JS, Zug KA: “Contact
      Dermatitis of the Hand: Cross-Sectional Analyses of North American Contact Dermatitis Group
      Data, 1994-2004.” Journal of the American Academy of Dermatology, 57(2):301-14 (2007)
11.   Hormes JM, Lytle LA, Gross C, Ahmed RL, Troxel AB, Schmitz KH. “The Body Image and
      Relationship Scale: Development and Validation of a Scale to Measure Body Image in Female
      Breast Cancer Survivors.” Journal of Clinical Oncology,26:1269-1274 (2008)
12.   Ahmed RL, Prizment A, Lazovich D, Schmitz KH, Folsom AR: “Lymphedema and Quality of Life
      in Breast Cancer Survivors, the Iowa Women’s Health Study.” Journal of Clinical Oncology,
      26:5689-569 (2008)
      Editorial: Paskett E. Breast Cancer-Related Lymphedema: Attention to a Significant Problem
      Resulting From Cancer Diagnosis. Journal of Clinical Oncology, 26:5666-5667 (2008).
      Featured in a Reuter’s Associated Press article released on 12/30/2008
13.   Schmitz KH, Troxel AB, Cheville A, Grant LL, Bryan C, Gross C, Lytle LA, Ahmed RL.
      “Physical Activity and Lymphedema (The PAL Trial): Assessing the Safety of Progressive
      Strength Training in Breast Cancer Survivors.” Contemporary Clinical Trials.30:233-24 (2009)
14.   Schmitz KH, Ahmed RL, Troxel A, Cheville A, Smith R, Lewis-Grant L, Bryan CJ, Williams-
      Smith CT, Greene QP. “Weight Lifting in Women with Breast-Cancer-Related Lymphedema: A
      Randomized Controlled Trial.” New England Journal of Medicine. 361:664-73 (2009).
      Editorial: Demark-Wahnefried W. A Weighty Matter – Lifting after Breast Cancer.
      New England Journal of Medicine 361:710-11 (2009)
      Featured in Reuter’s Associated Press article 8/12/2009. Feature article in NY Times (8/18/09).

15.   Speck B, Gross C, Hormes JM, Ahmed RL, Lytle LA, Schmitz KH. “Changes in the Body Image
      and Relationship Scale (BIRS) Following a One Year Strength Training Trial for Breast Cancer
      Survivors With or at Risk for Lymphedema” Breast Cancer Research and Treatment. 121(2):421-
      30 (2010)

16.   Hormes JM, Bryan C, Lytle LA, Gross C, Ahmed RL, Troxel AB, Schmitz KH. “Impact of
      Lymphedema and Arm Symptoms on Quality of Life in Breast Cancer Survivors.” Lymphology.
      43(1): 1-13 (2010)

17.   Schmitz KH, Ahmed RL, Troxel AB, Cheville A, Lewis-Grant L, Smith R, Bryan CJ, Williams-
      Smith CT, Chittams J. “Weight Lifting for Women at Risk for Breast Cancer-Related
      Lymphedema.” JAMA, 22;304(24):2699-705, (2010) Epub Dec 8, 2010.

18.   Prizment AE, Alonso A, Folsom AR, Ahmed RL, Virnig BA, Warshaw EM, Anderson KE.
      “Association Between Psoriasis and Incident Cancer: The Iowa Women’s Health Study.” Cancer
      Causes and Control, 22(7):1003-10, (2011) Epub May 7, 2011

19.   Ahmed RL, Schmitz KH, Prizment A, Folsom AR: “Risk Factors for Lymphedema in Breast
      Cancer Survivors, the Iowa Women’s Health Study.” Breast Cancer Research and Treatment,
      130(3):981-91, (2011) Epub July 15, 2011




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20.    Endrizzi BT, Ahmed RL, Ray T, Dudek A, Lee PK. “Capecitabine as Chemoprevention for
       Squamous Cell Carcinoma in Solid Organ Transplant Recipients.” Dermatologic Surgery, 39:634-
       645, (2013)

21.    Isacksson Vogel R, Ahmed RL, Nelson H, Berwick M, Weinstock M, Lazovich D. Association
       Between Indoor Tanning and Melanoma in the Absence of Burns. Jnl Natl Can Inst, 2014: 106(7).
       JNCI Editorial and featured in a Reuter’s Associated Press Release.

22.    Lazovich D, Isackson Vogel R, Weinstock MA, Ahmed RL, Nelson H, Berwick M. “Diverging
       trends in melanoma among young men and women due to indoor tanning use. Accepted pending
       revision JAMA Dermatology.

23.    Lazovich D, Isaksson Vogel R, Weinstock MA, Nelson HH, Ahmed RL, Berwick M. Association
       Between Indoor Tanning and Melanoma in Younger Men and Women. JAMA Dermatol. 2016
       Mar; 152(3):268-75. PMID: 26818409

24.    Vogel RI, Strayer LG, Ahmed RL, Blaes A, Lazovich D. A Qualitative Study of Quality of Life
       Concerns Following a Melanoma Diagnosis. J Skin Cancer. 2017 Epub 2017 May 28. PMID:
       28634549

25.    Garrett GL, Blanc PD, Boscardin J, Lloyd AA, Ahmed RL, Anthony T, et al. “Incidence of and
       Risk Factors for Skin Cancer in Organ Transplant Recipients in the United States.” JAMA
       Dermatol. 2017 Mar 1;153(3):296-303. PMID: 28097368

26.    Ahmed RL, Shaughnessy DP, Knutson TP, Vogel RI, Ahmed K, Kren BT, Trembley JH. “CDK11
       “Loss Induces Cell Cycle Dysfunction and Death of BRAF and NRAS Melanoma Cells.”
       Pharmaceuticals (Basel). 2019 Apr 2; 12(2). PMID: 30987032

27.    Crow LD, Jambusaria-Pahlajani A, Chung CL, Baran DA, Lowenstein SE, Abdelmalek M,
       Ahmed RL, et al. “Initial Skin Cancer Screening for Solid Organ Transplant Recipients in
       the United States: Delphi Method Development of Expert Consensus Guidelines.”
       Transplant International. In press, 2019 doi: 10.1111/tri.13520


Book Chapters:

1.     Ahmed RL. Pruritus With Minimal or No Skin Findings. In Clinical Dermatology (Lange
       Medical Books), C Soutor and M Hordinsky, eds. McGraw Hill Education, 2013


Abstracts:

1.     Hakimi JM, Rondinelli RH, Schoenberg MP, Ahmed RL, May SA, Bova GS, Isaacs WB, Barrack
       ER: “Frequency of Androgen Receptor Gene Mutations in Prostate Cancer,” meeting abstract and
       poster presentation, Proc. of the American Assoc for Cancer Research, March, 1997
2.     Hakimi JM, Ahmed RL, Isaacs WB, Bova GS, Barrack ER: “Mutational Analysis of the
       Androgen Receptor Gene in Hormone Refractory Metastases of Prostate Cancer,” meeting abstract
       and poster presentation, Proc. of the American Assoc. for Cancer Research, March 1998
3.     Ahmed RL, Schmitz MKH, Yee D: “Strength Training Induced Changes in Body Composition,
       Fasting Insulin, and Insulin-Like Growth Factor-I,” meeting abstract and poster presentation by
       RL Ahmed, Proc. of the American Association for Cancer Research, p.1148-9, March 2002

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4.    Ahmed RL, Schmitz MKH, Yee D: “Effects of Strength Training on Body Composition, Fasting
      Insulin, and Insulin-Like Growth Factor-I,” meeting abstract and poster presentation by RL
      Ahmed, Medicine and Science in Sports and Exercise, June 2002
5.    Ahmed RL, Schmitz KH, Yee D: “Strength Training and Lymphedema Symptoms in Recent
      Breast Cancer Survivors” Meeting abstract and poster presentation by RL Ahmed, Medicine and
      Science in Sports and Exercise, June 2003
6.    Schmitz KH, Ahmed RL, Yee D: “Effects of Weight Training on Body Composition in Breast
      Cancer Survivors” Meeting abstract and poster presentation by RL Ahmed. Medicine and Science
      in Sports and Exercise, June 2003
7.    Ahmed RL, Schmitz KH, Yee D: “Effect of Resistance Training on Lymphedema Symptoms in
      Recent Breast Cancer Survivors” Meeting abstract and poster presentation by RL Ahmed, Proc.
      American Association Cancer Research, July 2003
8.    Schmitz KH, Ahmed RL, Yee D: “Effects of Strength Training on Body Composition of Breast
      Cancer Survivors” Meeting abstract and poster presentation, Proc. American Association for
      Cancer Research, July 2003
9.    Schmitz KH, Ahmed RL, Yee D: “Effect of Strength Training on Insulin and Insulin-like Growth
      Factors in Breast Cancer Survivors.” Meeting abstract and poster presentation Med. Sci. Sports
      and Exercise, June 2004
10.   Warshaw EW, Ahmed RL, Belsito DV, DeLeo VA, Fowler JF Jr, Maibach HI, Marks JG Jr,
      Mathias CGT, Pratt MD, Rietschel RL, Sasseville D, Storrs FJ, Taylor JS, Zug KA: “Contact
      Dermatitis of the Hand: Cross-Sectional Analyses of North American Contact Dermatitis
      Group Data, 1994-2004.” Oral and poster presentation by RL Ahmed at the American
      Contact Dermatitis Society annual meeting, 2/1/07, Washington D.C.
11.   Ahmed RL, Prizment A, Lazovich D, Schmitz KH, Folsom AR: “Lymphedema and Quality of
      Life in Breast Cancer Survivors, the Iowa Women’s Health Study.” Poster session presentations
      by A Prizment at the Powell Women’s Health Conference, University of Minnesota 9/22/08 and
      by R Ahmed at the Minnesota Dermatology Society conference at the VAMC 12/5/08
12.   Prizment A, Folsom A, Ahmed R, Virnig B, Warshaw E, Anderson K: “Psoriasis in Relation to
      Lifestyle Behaviors and Comorbidities, the Iowa Women's Health Study (IWHS).” Oral and
      poster presentation by A Prizment at the Society for Epidemiologic Research 6/25/2009.

13.   Ray TL, Ahmed RL, Lee PK: “Retroauricular Chondrocutaneous Interpolation Flap for
      Reconstruction of Full Thickness Helical Defects.” Oral and poster presentation given by RL
      Ahmed at the American College of Mohs Surgeons annual meeting, April, 2010

14.   Ahmed RL, Schmitz KH, Prizment A, Folsom AR: Risk Factors for Lymphedema: the Iowa
      Women’s Health Study. Jnl Investig Dermatol. 130:S61, 2010. Oral and poster presentations
      given by RL Ahmed at the Society for Investigative Dermatology annual meeting, May 2010.

15.   Prizment A, Alonso A, Folsom A, Warshaw E, Ahmed R, Virnig B, Anderson K. Psoriasis and
      risk of cancer: the Iowa Women’s Health Study (IWHS).” Poster and oral presentation by A
      Prizment at the Society of Epidemiologic Research annual meeting, June 2010

16.   Ahmed RL, Lee PK: “Laser Treatment for Port Wine Stain.” Poster presentation by RL Ahmed
      at the American Society of Dermatologic Surgery annual meeting, October 2010


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17.    Foman N, Lamb A, Ahmed RL, Brocato J, Bornzstein B, Hordinsky M. Resident to Resident
       Teaching of Dermatology Procedures: an Interdisciplinary Educational Innovation. Accepted for
       oral and poster presentation by A Lamb at the Accreditation Counsel of Graduate Medical
       Education annual 2012 education conference, “Encouraging Excellence,” February 17, 2012

18.    Ahmed RL, Isakkson Vogel R, Lazovich D. “Obesity and Risk of Melanoma: The Skin Health
       Study.” Poster presentation by RL Ahmed at the Society of Investigative Dermatology annual
       meeting, May 2012

19.    Lazovich D, Isakkson Vogel R, Ahmed RL. “Indoor Tanning at a Young Age and Melanoma
       Risk.” Presented at the Melanoma Scientific Symposium, March, 2012

20.    Dodd E, Trembley T, Ahmed RL. “Small molecule inhibitors of protein kinase CK2 reduce
       proliferation and viability of melanoma cells in vitro.” Presented by Erin Dodd, MS3, at the
       Society of Investigative Dermatology conference, Atlanta, GA, May 2015 and at UMN Dept of
       Dermatology Research Day, April 2015

21.    Wood M, Hordinsky M, Ahmed RL. “Sunscreen Use Among Minnesota State Fair Visitors and
       the Potential Impact of Free Public Sunscreen Dispensers.” Presented by RL Ahmed at the World
       Congress of Dermatology Conference, Vancouver, CA, June 2015


Oral presentations at national meetings:
1.     American Contact Dermatitis Society Annual Meeting, February 2007
       Warshaw EW, Ahmed RL, Belsito DV, DeLeo VA, Fowler JF Jr, Maibach HI, Marks JG Jr,
       Mathias CGT, Pratt MD, Rietschel RL, Sasseville D, Storrs FJ, Taylor JS, Zug KA: “Contact
       Dermatitis of the Hand: Cross-Sectional Analyses of North American Contact Dermatitis Group
       Data, 1994-2004.” Oral presentation by RL Ahmed
2.     American College of Mohs Surgeons Annual Meeting, April 2010
       Ray TL, Ahmed RL, Lee PK: “Retroauricular Chondrocutaneous Interpolation Flap for
       Reconstruction of Full Thickness Helical Defects.” Oral presentation by RL Ahmed

3.     Society of Investigative Dermatology Annual Meeting, May 2010
       Ahmed RL, Schmitz KH, Prizment A, Folsom AR: Risk Factors for Lymphedema: the Iowa
       Women’s Health Study. Oral and poster presentations by RL Ahmed

Web:
Goodskinsimple.com – blog about general skin care (now on Lakesderm.com website)     2012 -




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TEACHING EXPERIENCE

Tutor, The Johns Hopkins University, undergraduate level Biochemistry                  09/97-12/97
Teaching Assistant, University of Minnesota, Division of Epidemiology,                 09/02-12/02
       Epidemiology I graduate course, Dr. Jim Pankow
Teaching Assistant, University of Minnesota, Division of Epidemiology,                 09/03-12/03
       Fundamentals of Epidemiology graduate course, Dr. DeAnn Lazovich                09/04-12/04

Dermatology Resident Lectures (1 hour lectures):
1.    Porphyrias (board review): March 2009
2.    Cutaneous Lymphomas: June 2009, 2010 and 2011
3.    Pruritus: Neurocutaneous Innervation and Common Conditions: September 2009 and 2010
4.    Procedural Dermatology: Surgery, Lasers and Cosmetics (board review): March 2010 and 2011
5.    Fillers: Review of Products, Uses and Complications: May 2010
6.    NYU Pediatric Dermatology Elective Recap: July 2010
7.    OHSU Mohs, Dermatopathology and Pediatric Dermatology Elective Recap: September 2010
8.    Topics in Topical Medications in Dermatology, Keratolytics: September 2010
9.    Topics in Topical Medications in Dermatology, Antimicrobials: November 2010
10.   Kodachromes: January 2011
11.   Kodachromes: June 2012

Invited talks
1.      Lymphedema in Breast Cancer Survivors. Harvard Dept of Dermatology, Dermatoepidemiology
        research team: January 2011
2.      Key-note speaker for Minnesota Women in Medicine annual retreat, fall 2014


RESEARCH

Current:
American Cancer Society Research Scholar Grant (PI R. Vogel)                     07/01/19-06/30/22
Wearable device intervention to improve sun behaviors in melanoma survivors
Major Goals: The proposed research will test a wearable UVR-sensor enabled technology device and
corresponding mobile application designed to reduce sun exposure and promote healthy sun protection
habits among melanoma survivors.
Specific Aim: to evaluate the effectiveness of a UVR-sensor wearable device intervention to improve sun
protection behaviors and reduce sunburns in a randomized controlled trial in melanoma survivors.
Role: Co-Investigator

Completed:
Shaver Foundation (PI: R Ahmed and J Trembley)                                       1/1/2016-6/2018
Investigation into Targeting CK2 in Melanoma
To date we have determined CK2 levels in different melanoma cell lines and we have evaluated anti-CK2
therapy as a novel treatment for melanoma in four melanoma cell lines, with BRAF or NRAS mutations.
The current project is to evaluate the efficacy of anti-CK2 nanocapsule with and without BRAF inhibitor
combined therapy on primary melanoma tumor growth in a mouse model. This project requires annual
application and funding is provided for one year at a time.

Cicatricial Alopecia Research Foundation (PI: M Hordinsky)                             3/1/2014-


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Role of Neurogenic Inflammation and Topical 6% Gabapentin Therapy in Symptomatic Scarring
Alopecia
To evaluate the effect of 6% topical gabapentin solution on scalp inflammation and symptoms in patients
with scarring alopecia.
Role: Co-Investigator


Women’s Dermatologic Society (PI: R Ahmed)                                  7/1/2013-8/30/2015
Anti-CK2 Therapy as a Novel Treatment for Cutaneous Squamous Cell Carcinoma
To determine CK2 levels and anti-CK2 therapy as a novel treatment for cutaneous squamous cell
        carcinoma in cell cultures of normal keratinocytes and malignant squamous cells.

Masonic Cancer Center Translational Work Group Pilot Grant, Univ. Minnesota (PI: D Lazovich)
Skin Health Study Repository for Translational Research                              12/1/2014-
To obtain updated health data and tumor specimens from participants from the Skin Health Study to be
used to further understand associations between indoor tanning and melanoma risk.
Role: Co-Investigator

Clinical and Translational Science Institute, University of Minnesota (PI: M Hordinsky)7/1/2013-
A Phase 4 Randomized, Placebo Controlled trial of 3 Doses of Intralesional Triamcinolone
(KenalogR) in the Treatment of Mild to Moderate Patch Type Alopecia Areata
A randomized controlled trial to evaluate 3 doses of intralesional triamcinolone vs. placebo in the
treatment of alopecia areata.
Role: Co-Investigator

Clinical and Translational Science Institute, University of Minnesota (PI: M Erickson) 12/1/2013-
Undetected Bartonella spp. Infection Puts Liver Transplant Patients at Great Risk
To evaluate tissue samples from liver transplant patients for bartonella species infection.
Role: Co-Investigator

Hapten Pharmaceuticals, LLC (PI: M Hordinsky)                                  5/1/2014-
An open-label study employing the topical immunomodulator diphenylcyclopropenone (DPCP) in a
stabilized gel to treat hair loss in subjects with extensive Alopecia Areata
To evaluate DPCP as a treatment for alopecia areata.
Role: Co-Investigator

American Academy of Dermatology Transplant Skin Cancer Network (Site PI: S Schram) 5/1/2014-
Skin Cancer Incidence in Solid Organ Transplant Recipients
To develop a national dataset of solid organ transplant recipients and monitor for skin cancer incidence and
outcomes.
Role: Co-Investigator

Cancer Outcomes and Survivorship (PI: D Lazovich)                             1/1/2012-12/31/2014
Masonic Cancer Center, University of Minnesota
Developing a Questionnaire for Melanoma Survivors
To develop and validate a Quality of Life survey designed specifically for use in melanoma survivors.
Role: Co-investigator

NIH/NCI 5RO1CA106851, NCT00194363 (PI: K Schmitz)                                 2007-2011
The Physical Activity and Lymphedema (PAL) Trial
To assess whether weight training is a safe exercise modality for breast cancer survivors with and at risk
for lymphedema. Secondary aims included assessing the effects of weight training on health-related


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quality of life, body image, and body composition. Several manuscripts have been published from this
trial. We are continuing to prepare manuscripts from the results of this trial.
Role: Research Collaborator

University of Minnesota, Division of Epidemiology                              01/06 – 06/11
       Advisor: Aaron Folsom, MD
       Iowa Women’s Health Study: during the 2004 NIH grant renewal cycle I
       developed study aims to complete two projects on lymphedema in breast
       cancer survivors in a population-based cohort with the following aims:
       1) describe lymphedema in the cohort, 2) examine risk factors for lymphedema
       in the cohort, and 3) examine effects of lymphedema on health-related quality
       of life in breast cancer survivors.
       Manage and advise a doctoral research assistant.
       Manuscripts were published in 12/08 and 12/11; an oral presentation was given at the Society of
       Investigative Dermatology 2010 annual meeting.

University of Minnesota, Department of Dermatology                                         10/09 – 9/10
       Advisor: Peter K Lee, MD, PhD
       We conducted a survey-based study of academic dermatologists across the country who perform
       laser surgery to assess current practices in treatment of venous capillary malformation (Port Wine
       Stain) using laser. We examined current protocols followed, setting of treatment, and whether or
       not protocols varied by the model of laser available to and by the specialty of the practitioner (e.g.
       dermatologic surgeon vs. pediatric dermatologist). Data were presented at the American Society of
       Dermatologic Surgeons annual meeting, 2010.

University of Minnesota, Department of Dermatology                                       08/06 – 2/07
       Advisor: Erin Warshaw, MD
       North American Contact Dermatitis Group Patch Test Dataset: we used
       this dataset of over 20,000 participants to describe allergic contact dermatitis
       (ACD) of the hand, including the prevalence of positive allergens by patch testing,
       associated sources and occupations. A manuscript from this work was published in 2007.

Predoctoral Fellow, University of Minnesota, Division of Epidemiology                      07/01 – 05/05
       Advisors: Aaron Folsom, MD and Kathryn Schmitz, PhD, MPH
       Coursework completed for both behavioral and biological epidemiology tracts

        Study Coordinator: Weight Training for Breast Cancer Survivors Study (WTBS)
               Human subjects in research application, participant recruitment
               and retention, development of study measures, data management and
               monitoring, budget management, staff management. Data analysis and
               manuscript preparation.

        Study Coordinator: Physical Activity and Lymphedema Trial Pilot Study:
               Co-authored the grant proposal for this intervention.
               Conducted focus groups with breast cancer survivors to help develop
               and pilot a body image and sexuality survey for breast cancer survivors.
               Additionally: human subjects in research application, participant recruitment
               and retention, budget management, data management and monitoring.

        Research Assistant: Atherosclerosis Risk in Communities (ARIC) Study.
               Data abstraction and synthesis from medical records.

        Grant writing:
               1) Physical Activity and Lymphedema trial: as a doctoral student, I wrote the first

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               draft of this grant and co-authored the submitted application; the submitted grant was
               awarded an RO1 to Dr. Kathryn Schmitz in 2004. This trial was completed in the summer
               of 2008. Preliminary results from this study were included in the NIH annual report to the
               President in 2008; several manuscripts have been published and are in preparation from
               these data.
               2) Iowa Women’s Health Study renewal in 2004: lymphedema aims (noted above);
               3) Division of Epidemiology project grant to analyze IGFBP-2 levels in stored blood
               samples from the Weight Gain Prevention Study (WGPS; data forms portion of thesis).

       Thesis work: Data for this thesis were from two intervention studies, WTBS and WGPS,
              as well as from a prospective population-based cohort, the ARIC study.
              Diverse data analytical techniques were employed.

Junior Scientist, University of Minnesota, Department of Preventive Medicine            06/98 – 05/99
       Neurochemical Laboratory of Patrick Mantyh, PhD
       General laboratory assistance in molecular biology techniques, including
       reverse transcriptase-polymerase chain reaction (RT-PCR), western blot,
       and microarray. Presentation at weekly lab meetings.

Laboratory Technical Assistant, Johns Hopkins Medical School, Dept. of Urology          01/96-05/98
      Molecular Biochemistry Laboratory of Evelyn Barrack, PhD
      General laboratory assistance in molecular biology techniques, including
      polymerase chain reaction and single strand conformational polymorphism
      analysis.

Laboratory Intern, Biokemisk Institut, Odense Universitet, Denmark                      06/97-07/97
      Cellular and Molecular Biochemistry Laboratory of Olaf-Georg Issinger, PhD
      General laboratory assistance in cellular and molecular biology techniques,
      including the yeast-two-hybrid system and DNA sequencing. Presentation
      at weekly lab meetings.

Laboratory assistant, Johns Hopkins Medical School, Dept. of Neurology                  08/96-03/97
      Neurological Oncology Laboratory of Henry Brem, MD, PhD
      General laboratory assistance in molecular biology techniques, including
      reverse transcriptase-polymerase chain reaction (RT-PCR); gave a brief lecture
      to the laboratory group about this procedure.

Laboratory Technical Assistant, Univ. of Minnesota, Lab. Medicine and Pathology     06/95-08/95
      Cell. and Molecular Biochemistry Lab. of Khalil Ahmed, PhD, under Alan Davis
      General laboratory assistance in cellular and molecular biology techniques,
      including maintenance of cell cultures and cellular fractionation techniques.


BOARD MEMBERSHIP AND COMMITTEE WORK
Women’s Dermatologic Society                                                            2015-
     Grants committee

Survivors Training                                                                      2007-2012
       Member Board of Directors
       Survivors Training is a non-profit organization founded by Dr. Wendy Rahn in 2007. The mission
       of this organization is to meet the needs of women for more timely and accurate information
       about, and training in, physical fitness after a cancer diagnosis. Survivorstraining.org

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JOURNAL REVIEWER

1.    Journal of Cancer Epidemiology Biomarkers and Prevention                         2007 - present
2.    Medicine and Science in Sports and Exercise                                      2008 - present
3.    Journal of Clinical Oncology                                                     2008 - present
4.    CMAJ                                                                             2009 - present
5.    European Journal of Cancer                                                       2009 - present
6.    Journal of Supportive Care in Cancer                                             2009 - present
7.    Women’s Health                                                                   2010 - present
8.    The Open Biomedical Engineering Journal                                          2010 - present
9.    American Journal of Epidemiology                                                 2011 - present
10.   Expert Review of Pharmacoeconomics & Outcomes Research                           2011 - present
11.   Quality of Life Research                                                         2011 - present
12.   Breast Cancer Research and Treatment                                             2011 - present
13.   Cancer Causes and Control                                                        2012 - present
14.   Breast Cancer Management                                                         2013 – present
15.   JAMA Dermatology                                                                 2015 – present

GRANT REVIEWER
1.    Cancer Research UK                                                               2009
2.    Willy Gepts Research Foundation, Brussels                                        2013, 2014
3.    Florida Department of Health                                                     2017-2019


INTERVIEWS AND PRESS

1.    Kohman L. “Medical Student Association Holds Year-End Banquet,” Minnesota Daily
      Newspaper. April 21, 2001. Interview about the Student National Medical Association
      mentoring program.
2.    Campbell A. “Making Connections ” Pictures of Health, Spring 2002: 8-9. Article about
      mentoring programs at the University of Minnesota, including the Student National Medical
      Association mentoring program. http://www.ahc.umn.edu/img/assets/7617/2002_01Spring.pdf.
3.    Hudson B. “Health Talk and You Special Focus: Cancer” Pictures of Health, Fall 2002:S1-S4.
      Article featuring cancer research at the University of Minnesota, including the Weight Training for
      Breast Cancer Survivors Study. http://www.ahc.umn.edu/img/assets/7617/2002_03Fall.pdf
4.    Reuter’s Associated Press, March 18, 2006. Article about the Weight Training for Breast Cancer
      Survivors study, quality of life results.
5.    Berger, S. “Balancing Painful Swelling With a Desire to Exercise,” New York Times, May 18,
      2006. Article about the Weight Training for Breast Cancer Survivors study, lymphedema results.
6.    Watson K. "News & Trends" Prevention Magazine, October 2006. Interview about the Weight
      Training for Breast Cancer Survivors study, lymphedema results.
7.    Reuter’s Associated Press, December 30, 2008. This press release featured data from the Iowa
      Women’s Health Study, lymphedema and quality of life data: “Hospitals Try to Prevent Arm
      Swelling After Breast Cancer.”
8.    Podcast interview regarding the Iowa Women’s Health Study lymphedema research for the
      Academic Health Center at the University of Minnesota, January 2009.
9.    Olson J. Pioneer Press, “Weightlifting can lessen breast cancer complication, study finds.”
      Interview regarding the Physical Activity and Lymphedema Trial main results.
10.   Reuter’s Associated Press, August 12, 2009, “Weightlifting good for women with lymphedema.”
      This article featured data from the Physical Activity and Lymphedema Trial



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11.   Interview by Carmen Peota about research on weight-lifting and lymphedema in breast cancer
      survivors, featured in Minnesota Medicine, October 2010 issue focused on cancer survivorship.
      Interview titled: "Lifting and Lymphedema." Minnesota Medicine, October, 2010, page 13.
12.   Local CBS evening news, Good Question: January 13, 2012, on dry skin care.
13.   Interview by Katie Dohman about skin cancer prevention “Secrets to Sensational Skin” and “How
      to Care for the Skin You’re In” Minnesota Monthly, June 2012
14.   Interview by Dana Oliver about BB creams “BB creams for dark skin: what brown girls should
      know about this “miracle” product,” the Huffington Post Stylist, 06/08/2012
      http://www.stylelist.com/2012/06/08/bb-creams-dark-skin-tones_n_1574367.html?ref=tw
15.   Interview by Sheila Eldred regarding sun protection, “63 Ways to Banish Winter, Get your self
      ready for spring,” Minnesota Monthly, April 2014




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RESIDENCY/GRADUATE LEVEL MEMBERSHIPS AND EXTRACURRICULAR ACTIVITIES
Resident Coordinator for the Minnesota Dermatology Conference, May 2010                 2010
Graduate Medical Education alternate representative for Dermatology                     2009-2010
Johns Hopkins University National Alumni Schools Committee                              1998-present
       Interview local prospective undergraduate applicants for admission to
       Johns Hopkins University.
       Act as representative for Johns Hopkins at local college fairs.
Adolescent Substance Abuse Prevention                                                 1999-2001
       Member of the executive committee that brought this national program to
       the U of MN medical school. This program’s curriculum was developed
       at the University of Chicago Pritzker School of Medicine. The aim was to teach
       4th-7th grade students how to make informed decisions about drug use by
       highlighting the relationships between organ physiology (demonstration with
       cadaver organs), a healthy body system, and harmful substances; workbook
       and group project activities are a key component of this program.
Confidential Peer Assistance Program                                                    1999-2007
       Confidential peer counselor for fellow students.
Student National Medical Association (SNMA):                                            1999-2007
       Co-chair of the SNMA undergraduate mentoring program.                            1999-2002
       The mentoring program aims to encourage undergraduate students of color
       to pursue a career in academic health fields. As co-chair I helped recruit and
       match mentors with undergraduate students (20-25 pairs), ran the orientation
       and other social events. We solicited local organizations for program funding.
       Served as a mentor for two years.
       SNMA treasurer                                                                   2001-2002
American Medical Women’s Association                                                    1999-2007
      Networking and Community Service co-chair                                         1999-2001
      Attended the Minnesota Women’s physicians quarterly meetings
      Attended the national AMWA conference (2000)
      Helped organize community service projects, including a household goods
      drive and stress-reduction seminar for a women’s shelter and teaching grade-
      school students in a summer program about healthy organs
      Helped organize lunch lectures open to the medical school
Medical Student Council: treasurer for the executive council.                           2000-2001
      Attended monthly student council and executive council meetings
      Worked with the Medical School student groups to maintain budget
      Coordinated annual budget meeting of the student council
      Conducted annual student council audit
Cancer Epidemiology Work Group, University of Minnesota                                 2001-2007
       Attend monthly meetings
       Presentation of lymphedema research at the December 2004 meeting
Minnesota Medical Association (MMA):                                                 2001-2005
      Member of the Minority and Cross-Cultural Affairs Committee (appointed)
      Attended quarterly meetings
      Developed a web-based needs-assessment survey for clinic interpreter/
      translator services. The results were published in Minnesota Medicine in 2004.

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